USDC SDNY

UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK BEES LEON EEE FILED
JOYCE DELA ROSA, DOC #:
DATE FILED: _ 8/11/2023
Plaintiff,
-against- 22 Civ. 6575 (AT)
SEVENEAST 19 LLC AND SCANLAN ORDER

THEODORE AMERICAS, LLC,

Defendants.
ANALISA TORRES, District Judge:

The Court has been advised that all claims asserted herein have been settled in principle. ECF
No. 45. Accordingly, the above-entitled action is hereby dismissed and discontinued without costs,
and without prejudice to the right to reopen the action within thirty days of the date of this Order if
the settlement is not consummated.

Any application to reopen must be filed within thirty days of this Order; any application to
reopen filed thereafter may be denied solely on that basis. Further, if the parties wish for the Court to
retain jurisdiction for the purposes of enforcing any settlement agreement, they must submit the
settlement agreement to the Court within the same thirty-day period to be so-ordered by the Court.
Per Rule IV(C) of the Court’s Individual Practices in Civil Cases, the Court will not retain
jurisdiction to enforce a settlement agreement unless it is made part of the public record.

Any pending motions are moot. All conferences are vacated. The Clerk of Court is directed
to close the case.

SO ORDERED.

Dated: August 11, 2023
New York, New York

On-

ANALISA TORRES
United States District Judge

